
MONCURE, P.,
concurred in the results.
The decree was as follows:
This day came again the parties by their counsel, and the court having maturely considered the transcript of the record of the decree aforesaid and the arguments of counsel, is of opinion, for reasons stated in writing and filed with the record, that the lien for unpaid purchase money reserved by the appellant Elizabeth Coles, in her deed of the 32th March, 1853, to John Rice Miller has not been waived or extinguished, but is still a subsisting lien, and may properly be *enforced against the land conveyed by said deed and now in the possession of the appellee Holland.
This court is further of opinion that the payments made by the representatives of said Miller, upon the bond executed by said Miller to the said Elizabeth Coles, with Isaac H. Carrington and N. C. Miller as sureties, on the 7th December, 1855, ought not to be applied exclusively to the purchase money for which said lien was reserved as aforesaid, but are properly applicable, pro rata to all the debts included in said bond, including said purchase money; and the said circuit court erred in failing to decree accordingly.
It is therefore ordered and decreed that the decree of said circuit court dismissing said appellant’s bill, is erroneous, and the same is hereby reversed and annulled; and it is ordered and decreed that the appellee John W. Holland do pay to the appellant her costs, by her expended, in the prosecution of her appeal aforesaid here.
And this court proceeding to enter such decree as the said circuit court ought to have entered, it is decreed and ordered that the lien of the appellant aforesaid be held valid and subsisting; that an account be taken of the payments aforesaid, that the same be applied pro rata to all the debts included in said bond, and the balance of unpaid purchase money due the appellant thus ascertained, be decreed to her, and in default, of the payment thereof, a decree be entered subjecting said land, or so much thereof, as may be necessary to satisfy said unpaid purchase money; said sale to be at such *424time and place and upon such credit as may seem to said circuit court just and proper, conformably to law and the rules of practice 'and proceedings.
And this court without now undertaking to pass upon any -of the questions arising upon the bill filed *by the said J. W. Holland against Nathaniel C. Miller trustee, Louisa C. Miller and Catharine R. Miller and others, doth further order and decree, that the decree of the said circuit court dismissing said bill, be reversed and annuled, and that the appellees in that cause other than the said Elizabeth Coles do pay to the said Holland his costs by him expended here.
And, these causes are remanded to the said circuit court for further proceedings to be had therein in accordance with the foregoing opinion and decree.
Decree reversed.
